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                                                MINUTE ORDER                                                                  Page 5

                                    Magistrate Judge Jacqueline Becerra
                              King Building Courtroom 10-6                            Date: 3/28/2022              Time: 1:30 p.m.
 Defendant: CARLOS A. MORENO TUBERQUIA J#: 02752-506                 Case#: _
                                                                            10-CR-20763-LENARD
                                                                              _ _ _ _ _ _ __,___L-.....,........e.._>,L_--;,---



A USA:        M'\e,k,e.,\ T~a 'lv\.,~                 Attorney: HUMBERTO DOMINGUEZ (PERM)
Violation: CONSPIRACY TO DISTRIBUTE COCAINE INTENDING       Surr/Arrest Date: 3/25/2022 YOB: 1977
               THAT IT WOULD BE UNLAWFULLY IMPORTED INTO THE
               UNITED STATES

Proceeding: Initial Appearance                                            CJA Appt:
                                                                                      --------------
Bond/PT D Held: C;Yes           O No          Recommended Bond:
Bond Set at:         2+1 f fT D vJ [ti~k\- ~ M$;f-C-o--sig-n-ed_b_y:_ _ _ _ _ _ __
  rel      Surrender and/or do not obtain passports/travel docs                 Language:
                                                                                _,:_,:_..,;;;;;;;;;;;;;;;;;;;;;;~~~:;;;;;;;;:;;;;;;;;;;;;;;;;.
  (Cl      Report to PTS as directed/or _ _ _ _x's a week/month by              Disposition:
           phone: ___x's a week/month in person                                                    ~~eJ_
           Random urine testing by Pretrial
  [g]      Services
        Treatment as deemed necessary
  lg       Refrain from excessive use of alcohol

  (g       Participate in mental health assessment & treatment

  [DJ      Maintain cir seek full-time employment/education

 ro        No contact with victims/witnesses, except through counsel

  IQ)      No firearms

  lg       Not to encumber property
                                                                                        Reading of inadment Waived
  (g       May not visit transportation establishments

  lg       Horfme Confinement/Electronic Monitoring a~db/or
           Cu ew _ _ _ _ pm to _ _ _ am, paia~ y _ _ _ _ __
           Allowances: Medical needs, court appearances, attorney visits,
           religious, employment
 IC! Travel extended to:         _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                    Time from today to _ _ _ excluded
  lg       Other:                                                                  from Speedy Trial Clock

NEXT COURT APPEARANCE           Date:            Time:           Judge:                                  Place:

· Report RE Counsel:
                      ----------------------------------
 PT D/Bond Hearing:
                      ----------------------------------
 Pre Ii m/Arr aignor Removal:
                              -------------------------------
St at us Conference RE:
                              --------------------------------
 D.A. R.    IY,DI ·,~tzl /Lf•,45','3I                                     Time in Court: _ _ _6..,..,,__,~'--''-.
                                                                                                          -==-------
                          /             . s/Jacqueline Becerra                               Magistrate Judge
